                                        Case 5:24-cv-05684-VKD              Document 79     Filed 07/03/25      Page 1 of 3




                                   1

                                   2

                                   3

                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6                                           SAN JOSE DIVISION

                                   7

                                   8     DEBORAH HOWINGTON, et al.,                         Case No. 24-cv-05684-VKD
                                                          Plaintiffs,
                                   9
                                                                                            ORDER RE JUNE 26, 2025
                                                  v.                                        DISCOVERY DISPUTE RE NAMED
                                  10
                                                                                            PLAINTIFFS' DEPOSITIONS
                                  11     TAIWAN SEMICONDUCTOR
                                         MANUFACTURING CO., LTD., et al.,                   Re: Dkt. No. 70
                                  12
Northern District of California




                                                          Defendants.
 United States District Court




                                  13

                                  14           The parties ask the Court to resolve their dispute regarding the location of named

                                  15   plaintiffs’ depositions, as well as the sequence of those depositions. Dkt. No. 70. The Court finds

                                  16   this dispute suitable for resolution without oral argument. Civil L.R. 7-1(b).

                                  17           TSMC has asked plaintiffs to produce each of the named plaintiffs for an in-person

                                  18   deposition in the Northern District of California. Dkt. No. 70 at 1. Plaintiffs object that the

                                  19   named plaintiffs who live outside of this District should be deposed in or near their cities of

                                  20   residence. Id. In the alternative, plaintiffs ask that TSMC be required to reimburse them for their

                                  21   travel expenses to and from this District or be required to take their depositions remotely. Id. at 7.

                                  22   Plaintiffs also object to TSMC’s demand that the named plaintiffs’ depositions occur in a specific

                                  23   order. Id. at 5.

                                  24           Plaintiffs generally must make themselves available for deposition in the forum district.

                                  25   Music Grp. Macao Com. Offshore Ltd. v. Foote, No. 14-cv-3078-JSC, 2015 WL 13423886, at *1

                                  26   (N.D. Cal. Aug. 11, 2015). This general rule applies to named plaintiffs in class actions. See

                                  27   Fenerjian v. Nong Shim Co., Ltd., No. 13-cv-04115-WHO (DMR), 2016 WL 1019669, at *2

                                  28   (N.D. Cal. Mar. 15, 2016). However, the Court may, in its discretion, require plaintiffs’
                                           Case 5:24-cv-05684-VKD         Document 79        Filed 07/03/25      Page 2 of 3




                                   1   depositions to proceed in a different location, considering the convenience of the parties and

                                   2   counsel, the convenience of the persons to be deposed, the likelihood of discovery disputes arising

                                   3   that would require resolution by the forum court, the burden and expense associated with a

                                   4   particular deposition location, and other factors. See id. at *2; see also Hyde & Drath v. Baker, 24

                                   5   F.3d 1162, 1166 (9th Cir. 1994), as amended (July 25, 1994) (“A district court has wide discretion

                                   6   to establish the time and place of depositions.”).

                                   7           Here, plaintiffs have not shown that requiring all named plaintiffs to appear for their

                                   8   depositions in this District would impose an undue hardship on those who reside outside of the

                                   9   District, nor have they shown that there are other exceptional or compelling circumstances that

                                  10   warrant shifting the presumptive deposition location to places at or near their residences. Ms.

                                  11   Howington and her counsel initially chose to file this action in this District on behalf of a putative

                                  12   class encompassing all similarly situated people employed by TSMC anywhere in the United
Northern District of California
 United States District Court




                                  13   States. Dkt. No. 1 ¶ 42. Thereafter, each of the additional named plaintiffs asked specifically to

                                  14   be named in the action rather than electing to remain as unnamed members of the putative class.

                                  15   Dkt. Nos. 20, 37. In connection with these amendments, plaintiffs did not advise TSMC or this

                                  16   Court that these new named plaintiffs wished to participate as representatives of the class only if

                                  17   they were not required to travel to this District. Plaintiffs argue that requiring non-resident named

                                  18   plaintiffs to travel here for their depositions would be unfair because these plaintiffs “have modest

                                  19   means as compared to TSMC, a multi-billion dollar corporation.”1 See Dkt. No. 70 at 6. But

                                  20   comparative wealth is not a relevant consideration. In fact, it is not even clear that any plaintiffs

                                  21   will themselves bear any travel expenses related to these depositions. Defendants point out that

                                  22   plaintiffs’ assertion of undue hardship “assumes that plaintiffs themselves—not their counsel—are

                                  23   paying for [deposition travel] expenses,” and such an assumption is unsupported. Id. at 3. In

                                  24   response, plaintiffs say only that requiring defendants to depose out-of-District named plaintiffs

                                  25

                                  26   1
                                         Citing plaintiff Bernardo’s April 4, 2025 declaration, Dkt. No. 49-6 ¶¶ 10-16, plaintiffs
                                  27   specifically contend that Ms. Bernardo “has been unable to secure gainful employment, and no
                                       longer has the means to travel to California for her deposition.” Dkt. No. 70 at 6. However, as
                                  28   defendants observe, Ms. Bernardo traveled to California voluntarily to attend a court hearing
                                       shortly after filing the declaration on which plaintiffs rely.
                                                                                          2
                                        Case 5:24-cv-05684-VKD             Document 79         Filed 07/03/25      Page 3 of 3




                                   1   near their residences, grouped by state, “avoids undue burden and expense to both Plaintiffs and

                                   2   counsel (regardless of who bears the costs).” Id. at 5 (emphasis added). While the convenience

                                   3   of the parties and their counsel may be a relevant consideration, the Court agrees with defendants

                                   4   that plaintiffs’ proposal appears to merely shift the inconvenience and expense of named

                                   5   plaintiffs’ depositions from plaintiffs and their counsel to defendants and their counsel. See id. at

                                   6   3. Relatedly, plaintiffs have not shown good cause to require defendants to take named plaintiffs’

                                   7   depositions by remote video conference means, or to pay for non-resident named plaintiffs to

                                   8   travel to this District for their depositions.

                                   9           With respect to the sequence or order of named plaintiffs’ depositions, neither plaintiffs

                                  10   nor defendants have an absolute right to dictate the order of these depositions. See In re

                                  11   Telescopes Antitrust Litig., No. 20-cv-03639-EJD (VKD), 2021 WL 1541692, at *2 (N.D. Cal.

                                  12   Apr. 20, 2021); see also Fed. R. Civ. P. 26(d)(3). Rather, the Court expects both parties to work
Northern District of California
 United States District Court




                                  13   cooperatively to schedule named plaintiffs’ depositions to minimize delay and accommodate the

                                  14   deponents’ genuine scheduling constraints.

                                  15           For the reasons explained above, the Court orders named plaintiffs to make themselves

                                  16   available for deposition in the District, absent stipulation of the parties to take a particular

                                  17   deposition in a different location or by remote video conference. The Court expects the parties to

                                  18   so stipulate if a witness demonstrates that he or she has a medical condition that makes it very

                                  19   difficult or impossible for the witness to travel to this District, or if there is some other exceptional

                                  20   circumstance that makes it practically impossible for the witness to travel to this District for

                                  21   deposition. See Dkt. No. 70 at 3 n.1.

                                  22           IT IS SO ORDERED.

                                  23   Dated: July 3, 2025

                                  24

                                  25
                                                                                                       Virginia K. DeMarchi
                                  26                                                                   United States Magistrate Judge
                                  27

                                  28
                                                                                           3
